      0:19-cv-02975-PJG         Date Filed 01/11/21          Entry Number 30   Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA

Dawn Leduc,                                       )              C/A No. 0:19-2975-PJG
                                                  )
                               Plaintiff,         )
                                                  )                    ORDER
       v.                                         )
                                                  )
Andrew Saul, Commissioner of Social               )
Security Administration,                          )
                                                  )
                               Defendant.         )
                                                  )

       This matter is before the court on Plaintiff’s motion for attorney’s fees pursuant to the

Equal Access to Justice Act (“EAJA”). (ECF No. 27); see 28 U.S.C. § 2412. The parties filed a

joint stipulation on December 17, 2020 notifying the court that the parties had agreed to a

compromise settlement in which Defendant agrees to pay Plaintiff $4,400.00 in attorney’s fees and

$16.00 in expenses.

       The court has reviewed the stipulation and finds the compromise settlement reasonable.

Accordingly, it is

       ORDERED that the Plaintiff’s request for attorney’s fees and expenses pursuant to the

EAJA be granted in the amount of $4,416.00. EAJA fees awarded by this court belong to the

Plaintiff and are subject to offset under the Treasury Offset Program (31 U.S.C. § 3716(c)(3)(B)

(2006)). In the event Plaintiff has no present debt subject to offset and Plaintiff has executed a

proper assignment to Plaintiff’s counsel, Defendant is directed to make the payment due to

Plaintiff’s counsel. If Plaintiff has no debt subject to offset and no proper assignment has been

made by Plaintiff to counsel, Defendant is directed to make the check due pursuant to this Order

payable to Plaintiff and delivered to Plaintiff’s counsel.




                                             Page 1 of 2
     0:19-cv-02975-PJG     Date Filed 01/11/21     Entry Number 30   Page 2 of 2




      IT IS SO ORDERED.

                                      __________________________________________
January 11, 2021                      Paige J. Gossett
Columbia, South Carolina              UNITED STATES MAGISTRATE JUDGE




                                     Page 2 of 2
